Case 1:20-cv-23287-DPG Document 15 Entered on FLSD Docket 08/28/2020 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 Case No.: 1:20-cv-23287-DPG


  LUIS MANUEL RODRIGUEZ, et al.,

                               Plaintiffs,

         v.


  IMPERIAL BRANDS PLC, et al.,

                               Defendants.


                             NTOICE OF FILING DECLARATION

         Defendant Imperial Brands plc (“Imperial”) respectfully submits this Notice of Filing the

  attached Declaration of Andrew Rhys Davies in support of its motion for a limited stay. [D.E. 14].

 Dated: August 28, 2020                         Respectfully submitted,

                                                /s/ Christopher Cavallo
                                                NELSON MULLINS BROAD AND CASSELL
                                                Christopher Cavallo
                                                Florida Bar No. 0092305
                                                chris.cavallo@nelsonmullins.com
                                                2 South Biscayne Blvd. 21st Floor
                                                Miami, FL 33131
                                                Telephone: (305) 373-9400
                                                Attorneys for Defendant, Imperial Brands PLC




                                                  1
